OPINION — AG — QUESTION: "PLEASE GIVE US AN OPINION AS TO WHAT CONSTITUTES LEGAL DEDUCTIONS AND IF THERE ARE ANY BESIDES THE AUTHORIZED TAX DEDUCTIONS?", ANSWER: "THE `ITEMIZED STATEMENTS OF ANY AND ALL DEDUCTIONS' FROM AN EMPLOYEE'S WAGES REFERRED TO IN THE STATUTE ONLY MEANS THOSE DEDUCTIONS THAT THE EMPLOYER IS REQUIRED TO DEDUCT BY LAW, SUCH AS INCOME TAX, SOCIAL SECURITY AND THOSE WAGES WHICH MAY BE ORDERED WITHHELD BY ORDER OF A COURT. CITE: 40 O.S. 1961 165.2 [40-165.2], 40 O.S. 1961 165.1 [40-165.1] (W. J. MONROE) FILENAME: m0000943 L. E. BAILEY COMMISSIONER OF LABOR ATTORNEY GENERAL OF OKLAHOMA — OPINION JULY 6, 1967 OPINION — AG — QUESTION: "PLEASE GIVE US AN OPINION AS TO WHAT CONSTITUTES LEGAL DEDUCTIONS AND IF THERE ARE ANY BESIDES THE AUTHORIZED TAX DEDUCTIONS?", ANSWER: "THE `ITEMIZED STATEMENTS OF ANY AND ALL DEDUCTIONS' FROM AN EMPLOYEE'S WAGES REFERRED TO IN THE STATUTE ONLY MEANS THOSE DEDUCTIONS THAT THE EMPLOYER IS REQUIRED TO DEDUCT BY LAW, SUCH AS INCOME TAX, SOCIAL SECURITY AND THOSE WAGES WHICH MAY BE ORDERED WITHHELD BY ORDER OF A COURT. CITE: 40 O.S. 1961 165.2 [40-165.2], 40 O.S. 1961 165.1 [40-165.1] (W. J. MONROE)